Case 2:O4-cr-20359-.]PI\/| Document 180 Filed 07/08/05 Page 1 of 2 Page|D 252

IN THE UNI'I'ED sTATEs DISTRICT coURT FILED BY .9.£&{9-¢'
FoR THE wEsTERN DIsTRIcT oF TENN'ESSEE
WESTERN DIvIsIoN 05 J|_|L ..8 FH lp 5|

 

a%(]c :I`\‘ ¥Mmm

UNITED STATES OF AMERICA

)
)
}
Plaintiff, )
)
vs. ) cR. No. 04-20359-M1
)
oscAR SoTo )
)
Defendant. )
)

 

ORDER ON CHANGE OF PLEA

 

This cause came to be heard on July 7, 2005, the United States
Attorney for this district, David Henry, appearing for the Government and
the defendant, Oscar Soto, appearing in person and with counsel, Linda
Kendall Garner, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count 1 of the
lndictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for TUESDAY, OCTOBER 4, 2005, at 9:00
a.m., in Courtroom No. 4. on the 9"‘ floor befor¢ Judge Jon Phipps McCalla.

Defendant is allowed to remain released on present bond.

ENTERED this the g day of July, 2005.

;>,.~OM‘ O&Q

ON HIPPS McCALLA
ED STATES DISTRICT JUDGE

 

Thls document entered on the docket sheett co_l-L__E:-_l‘|anco
with Hu|e 55 and!or 32(b) FRCrP on__j__L_______

   

UNITED `SATES DISTRICT COUR - WTER D'S'TRCT OFTENNESSEE

thice of Distribution

This notice confirms a copy ot` the document docketed as number 180 in
case 2:04-CR-20359 Was distributed by faX, mail, or direct printing on
July ]1, 2005 to the parties listed.

 

 

Linda Kendall Garner

LAW OFFICE OF LINDA KENDALL GARNER
217 EXchange Ave.

Memphis7 TN 38105

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

